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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Law Offices of Andy Winchell
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By: Andy Winchell [AW-6590]
Attorney for the Debtor


In Re:                                        Case No.: 19-19288 (MBK)

Linda M. Rodriguez                            Chapter: 13

                           Debtor



Linda M. Rodriguez                            Adv. Pro. No: 23-01212 (MBK)

                           Plaintiff

                     vs.

PHH Mortgage Corporation

                           Defendant


     PLAINTIFF’S SEPARATE STATEMENT OF FACTS IN SUPPORT OF
              MOTION FOR SUMMARY JUDGMENT




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Fact:                                        Source:

Plaintiff and Defendant resolved          See Exhibit 7.
Adversary Proceeding 21-01506 (the “First
Adversary Proceeding”) through a
settlement agreement (the “Settlement
Agreement”).

In the Settlement Agreement, the             See Exhibit 7, paragraph 1.
Defendant agreed to remove from the
Plaintiff’s mortgage loan (the “Mortgage
Loan”) all fees other than real estate taxes
and insurance, even the fees approved by
the Court, that the Defendant had added
to the Mortgage Loan (collectively the
“Non-Recoverable Costs”).

The Defendant agreed to pay the Debtor’s See Exhibit 7, paragraph 5.
counsel $15,000 in attorney’s fees (the
“Attorney’s Fees”) and the mediator
$5,000 in mediator fees (the “Mediation
Fees”).

The Defendant agreed never to add any        See Exhibit 7, paragraph 1
portion of the Non-Recoverable Costs,
Attorney’s Fees, or Mediation Fees back
into the Mortgage Loan.

The Defendant agreed not to add any      See Exhibit 7, paragraph 1.
amounts to the Mortgage Loan other than
taxes and insurance for the remainder of
the Bankruptcy Case without first
complying with notice requirements
contained in Rule 3002.1 of the Federal
Rules of Bankruptcy Procedure.

The Defendant agreed in the Settlement       See Exhibit 7, paragraph 1.
Agreement that if any Non-Recoverable
Costs were added into the Mortgage Loan
without the Defendant first complying
with Rule 3002.1 of the Federal Rules of
Bankruptcy Procedure and remained on
the Defendant records for more than
thirty days without being removed, the

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 Defendant would be in breach of the
 Settlement Agreement.

 The Defendant failed to remove $1,050 in See Certification of Bernard Jay
 fees from the Mortgage Loan.             Patterson

 The Defendant added $15,000 in               See Certification of Bernard Jay
 Attorney’s Fees and $5,000 in Mediation      Patterson
 Fees into the Mortgage Loan.

 The Defendant did not file a notice          See Bankruptcy Court Docket
 pursuant to FRBP 3002.1 before adding
 the Attorney’s Fees and Mediation Fees
 into the Mortgage Loan.

 The Defendant failed to remove the           See Certification of Bernard Jay
 Attorney’s Fees and Mediation Fees from      Patterson
 the Mortgage Loan within thirty days of
 adding them.




Dated this the 25th day of September, 2024.



/s/ Andy Winchell
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